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				IN RE AMENDMENTS TO RULES FOR MANDATORY CONTINUING LEGAL EDUC.2017 OK 103Decided: 12/18/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 103, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

In re: Amendments to Rules For Mandatory Judicial Continuing Legal Education
ORDER
Pursuant to our general superintending control over all inferior courts, Okla. Const., art. 7, § 4, and our general administrative authority over state courts, Okla. Const., art. 7, § 6, we hereby amend Rules 1, 2, and 3 of the Rules for Mandatory Judicial Continuing Legal Education, 5 O.S., ch. 1, app. 4-B. The amended rules are set out in the attachments hereto, with Exhibit "A" showing markup and Exhibit "B" a clean copy of the new rules.
It is therefore ordered that the amended Rules for Mandatory Judicial Continuing Legal Education are hereby approved and adopted and shall be effective from January 1, 2017. It is further ordered that the Rules for Mandatory Judicial Continuing Legal Education as amended shall be included in the official publication of the Oklahoma Statutes.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 18th day of December, 2017.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR

Exhibit "A"
Rules for Mandatory Judicial Continuing Legal Education
Chapter 1, App. 4-A
Rule 1. Judges Who Must Obtain Annual Judicial Continuing Legal Education.
All Judges of the Oklahoma District Courts, the Court of Civil Appeals, Court of Criminal Appeals, and Justices of the Oklahoma Supreme Court, shall complete at least twelve (12) hours annually of Mandatory Judicial Continuing Legal Education (MJCLE). Credit may be earned through teaching in an approved continuing legal education program or approved judicial continuing legal education program. Presentations accompanied by thorough carefully prepared written materials will qualify for MJCLE credit on the basis of six (6) hours of credit for each hour of presentation.
Rules for Mandatory Judicial Continuing Legal Education
Chapter 1, App. 4-A
Rule 2. Approved Courses for Mandatory Judicial Continuing Legal Education.
The hours of Mandatory Judicial Continuing Legal Education must be obtained by attendance at MJCLE courses or programs provided by the Administrative Office of the Courts, or a National Judicial College course, or programs presented at monthly meetings of the Oklahoma Chapters of the American Inns of Court, or any other program specially approved by the Chief Justice of the Oklahoma Supreme Court for MJCLE. General continuing legal education programs or courses may not be used to satisfy no more than six (6) hours of the MJCLE requirement.
Rules for Mandatory Judicial Continuing Legal Education
Chapter 1, App. 4-A
Rule 3. Judicial Continuing Education Programs at Meetings of the Oklahoma Judicial Conference.
The Administrative Office of the Courts shall provide MJCLE courses or programs at all meetings of the Oklahoma Judicial Conference, and at other times as scheduled by the Administrative Office of the Courts. The Administrative Office of the Courts shall maintain records of those Judges and Justices attending MJCLE programs and courses provided by the Administrative Office of the Courts.

Exhibit "B"
Rules for Mandatory Judicial Continuing Legal Education
Chapter 1, App. 4-A
Rule 1. Judges Who Must Obtain Annual Judicial Continuing Legal Education.
All Judges of the Oklahoma District Courts, the Court of Civil Appeals, Court of Criminal Appeals, and Justices of the Oklahoma Supreme Court, shall complete at least twelve (12) hours annually of Mandatory Judicial Continuing Legal Education (MJCLE). Credit may be earned through teaching in an approved continuing legal education program or approved judicial continuing legal education program. Presentations accompanied by thorough carefully prepared written materials will qualify for MJCLE credit on the basis of six (6) hours of credit for each hour of presentation.
Rules for Mandatory Judicial Continuing Legal Education
Chapter 1, App. 4-A
Rule 2. Approved Courses for Mandatory Judicial Continuing Legal Education.
The hours of Mandatory Judicial Continuing Legal Education must be obtained by attendance at MJCLE courses or programs provided by the Administrative Office of the Courts, or a National Judicial College course, or programs presented at monthly meetings of the Oklahoma Chapters of the American Inns of Court, or any other program specially approved by the Chief Justice of the Oklahoma Supreme Court for MJCLE. General continuing legal education programs or courses may be used to satisfy no more than six (6) hours of the MJCLE requirement.
Rules for Mandatory Judicial Continuing Legal Education
Chapter 1, App. 4-A
Rule 3. Judicial Continuing Education Programs at Meetings of the Oklahoma Judicial Conference.
The Administrative Office of the Courts shall provide MJCLE courses or programs at all meetings of the Oklahoma Judicial Conference, and at other times as scheduled by the Administrative Office of the Courts. The Administrative Office of the Courts shall maintain records of those Judges and Justices attending MJCLE programs and courses provided.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Rule 1, Judges Who Must Obtain Annual Judicial Continuing Legal Education.Cited
&nbsp;5 O.S. Rule 2, Approved Courses for Mandatory Judicial Continuing Legal EducationCited
&nbsp;5 O.S. Rule 3, Judicial Continuing Education Programs at Meetings of the Oklahoma Judicial Conference.Cited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
